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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA
                                                                             2011 APR -7 AN 9: 08

                                                                         No~~~~SfoJ59 Ii .
UNITED STATES OF AMERICA,                          )
                                                   )        VIOLATION
                             Plaintiff,            )             'f; If e b 3"t);~
                                                   )
              v.                                   )
                                                   )
JERED P. KEARNS,                                   )        MOTION TO DEVIATE FROM
                                                   )        FINE SCHEDULE
                             Defendant.            )

       COMES NOW the United States and moves this Court for an order authorizing a

deviation from the fine schedule in the above-captioned matter. The collateral fine amount

set forth on the face of the above noted violation notice is $175.00.

       The parties desire to settle the above-captioned matter and, in recognition thereof, ask

the court to reduce the collateral fine amount to $100.00. The undersigned represents to the

court that the matter has been discussed with the U.S. Fish and Wildlife Service, and the

proposed settlement adequately addresses the government's concerns and interests in this

case. The undersigned further represents to the court that this matter has been discussed with

the defendant and he is in agreement with this proposal.
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                                        Respectfully submitted,

                                        UNITED STATES OF AMERICA

                                        By:     DEBORAH R. GILG
                                                United States Attorney
                                                District of Nebraska



                                        And:

                                                Assistant U. S. Attorney
                                                487 Federal Building
                                                100 Centennial Mall North
                                                Lincoln, Nebraska 68508
                                                Telephone: (402) 437-5241




                         ORDER

 IT IS SO ORDERED this   t;Yit day of April, 2011.




                                        United States Ma: . trate Judge
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                              CERTIFICATE OF SERVICE

       I, Alan L. Everett, hereby certify that a true and correct copy of the foregoing was
served on the following by mailing same this       I
                                                    Z day of April, 2011.
Jered P. Keams
707 Bordeaux Street


                                                tL~
Chadron, NE 69337


                                                 ALAN L. EVERETT
                                                 Assistant U. S. Attorney
